 

Case 2:17-cv-05304-TR Document 72 Filed 04/20/21 Page 1of5

UNITED STATES DISTRICT COURT
EASTERM DISTRICT OF PENNSYLVANIA

 

RCC FABRICATORS, INC. :
Plaintiff, : CIVIL ACTION NO.: 2-17 CV 05304-JS

V.

UMOJA ERECTORS LLC,

NORTH AMERICAN SPECIALTY

INSURANCE COMPANY
Defendants.

DEFENDANT UMOJA ERECTOR, LLC’S
PRE-TRIAL MEMORANDUM
L FACTS:

In October of 2016, the Plaintiff (RCC Fabricators, Inc. (hereinafter “RCC Fab”) signed a
subcontract with Umoja Erectors, LLC (hereinafter “Umoja”) for delivery of structural steel to
the Public Safety Services Campus (PSSC). D. A. Nolt was the general contractor which hired
Umoja. In its subcontract, the Plaintiff agreed that its “progress payments shall be in an amount
equal to that portion of the Subcontract amount properly allocable to completed Subcontractor
work. Contingent upon payment by Nolt’s progress payments, final payments and retainage shall
be due and payable to Subcontractor within seven (7) calendar days from the date of Umoja
payment received by Nolt. As an express condition precedent to any payment, Subcontractor
shall supply Umoja with lien releases properly executed on a form reasonably approved by
Umoja and Subcontractor’s acceptance of final payment hereunder shall constitute a general
release of Umoja from any and all claims or liability of any kind or description relating to the

33

Project cx

 
 

Case 2:17-cv-05304-TR Document 72 Filed 04/20/21 Page 2 of 5

Under the contract, “Umoja may withhold payment from Subcontractor in an amount
sufficient to (a) satisfy, defend, and discharge any claim against Umoja resulting from
Subcontractor’s acts or omissions on the project or Subcontractor’s failure to pay its
subcontractors, suppliers, employees or materialmen .... “

I. HISTORY

From the beginning of September of 2016, the Plaintiff's performance was rife with
delays and the delivery of non-conforming steel columns and beams. Due to delays in
installation of the steel, D.A. Nolt threatened back charges against the steel delivery and
installation by its subcontractor Umoja. Umoja in turn had to withhold payment from Plaintiff
RCC Fab to accommodate the threatened back charges that resulted from the delays as well as
the defective steel. RCC Fabricators also deliberately modified the WTs delivered contrary to
the original part drawings. The modification was rejected by the engineer of record and a
subsequent change order was denied by Umoja for non-conformity with the plans. More than
twenty pieces of steel had to be returned to RCC Fab, while eight pieces were repaired on site.
The modified WTs were delivered more than two weeks after the original due date, which
delayed other work originally scheduled on the roof frame.

RCC Fab’s original contract was $209,805.00. It has claimed an additional $30,000 for
correcting steel sent back for repairs. In many cases, the beams, screen wall or girders were too
short or too long to be modified at the project site. In some cases the brackets or bolt holes were
welded in the wrong position or place. When the steel is delivered on site, it must be installed
while the crews are assembled and the crane operator and crane are ready. Plaintiff claims for
re-work payments from Umoja for steel rejected by the site inspector followingt delivery, and

Umoja was within its contractual authority to withhold payments from the Plaintiff to satisfy

 
 

Case 2:17-cv-05304-TR Document 72 Filed 04/20/21 Page 3 of 5

and discharge all the back charges threatened by D.A. Nolt and the delay damages asserted by
the City. . In February 2017, Umoja Erectors received one payment of $66, 168.00 from D.A.
Nolt for payment to the Plaintiff for the structural steel delivered. That money was held, and
D.A. Nolt has deposited more than $176,000 in escrow, originally owed to Umoja and RCC Fab
pending a determination of liquidated damages with the City of Philadelphia and the
Philadelphia Municipal Authority. .

Further under the agreement between the Plaintiff and Umoja Erectors, the Plaintiff was
to be compensated for accelerations and delays contingent upon approval and payment by Nolt.
Nolt has since indicated that it is withholding $176,000.00 payments and as a result of the
withholding of such payments the Plaintiff cannot be paid. Specifically, the subcontractor
agreement states “Should Subcontractor be delayed in the performance of the Work by any cause
beyond Subcontractor’s control, Subcontractors sole remedy for such delay shall be an extension
of time for performance equal to the period of delay. Except for accelerations or delays that are
not the result of Subcontractor’s actions or failures to act, in no event shall Umoja be liable to
Subcontractor for any damages for delays.” As a result, despite the claims by the Plaintiff,

Umoja, has no contractual liability to the Plaintiff for delay damages.

At first, Plaintiff agreed to deliver the structural steel in the middle of September of 2016.
The first deliveries did not arrive until the end of September of 2016 and the final deliveries were
well beyond the original deadline of December 16, 2016. By having Umoja ironworkers repair
defective steel on the construction site, they were delayed in other work that was scheduled. In
addition, Umoja has not been compensated for the on-site repairs to RCC Fab’s non-conforming

steel parts.

 
 

Case 2:17-cv-05304-TR Document 72 Filed 04/20/21 Page 4of 5

In addition to the scope of the contract, RCC requested change orders for re-work of the
defective steel delivered on site. The total repairs claimed amounts to $30,811.00. Those
changes were denied by Umoja Erectors as unnecessary and unjustified. In the agreement,
payment to RCC Fab was contingent on receipt of progress payments from general contractor
D.A. Nolt. Since D.A. Nolt withheld payments in escrow, Umoja had no funds to pay Plaintiff.
Ill, WITNESSES

A. Brent Ellmann, Ballinger Engineering, 833 Chestnut St., Philadelphia, PA Engineer

of Record, will testify about Plaintiffs failure to fabricate WTs according to the
approved drawings which would allow a complete joint penetration weld. Mr.
Ellmann designed the repair that Plaintiffs has to make to the returned pieces of steel.
B. Kevin Lumpkin, Umoja Erectors site superintendent, 7332 Mount Vernon Ave.,
Philadelphia, PA will testify about errors and delays in screen wall, penthouse, and
fifth floor steel which was delivered by Plaintiff throughout the project. He will also
discuss the field measurements and their neutral impact on the quality of fabrication.

C. Alburn Brown, president of Umoja Erectors LLC, Secane, Pennsylvania, will testify

about the Umoja’s coordination of the steel delivery and steel erection at the PSSC
site and the steps taken to assure Plaintiff compliance with the original contract
drawings.

IV. DAMAGES

D.A. Nolt has notified Umoja of $97,654.00 in potential back charges which excludes
another $12,000 in possible change order charges. The $12,000 is the result of Nolt failing to
open masonry column 3C1, and which caused some of the fabricated steel to be incorrectly sized.

Defendant Umoja is owed a credit of $11,163.00 for RCC’s delivery of unpainted steel.

 
Case 2:17-cv-05304-TR Document 72 Filed 04/20/21 Page 5of5

Plaintiff's claim of $30,811.00 for re-work is subject to damages for delays that is being assessed
against the steel that was supplied by Plaintiff. None of the back charges have been confirmed
and are pending in the lawsuit by D.A. Nolt against the Philadelphia Municipal Authority.

Under the terms of the agreement, RCC Fabricators is not entitled to payment of the
entire $209,805.00 owed under the original agreement nor the $30, 811.00 for replacement steel,
due to a combination of the delays as well as the delivery of non-conforming steel beams and
columns. Special allowances were made to exempt Plaintiff from paying the taxes on the steel
delivered that resulted in a net increase of $4,000 to RCC Fab.. If D. A. Nolt fails to pay Umoja
under the time and materials contract, Plaintiff may be charged $7,000 for the on-site re-work by
Umoja, and delays because of the steel non-conformity with RCC Fab’s own shop drawings.
Deducting the $97,654 back charges and $30,811 and the $7,000 of re-work would leave $105,

151 and a $4,000 credit for a maximum total of $109, 151 owed to Plaintiff.

 

 

 
